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                         EXHIBIT E
    Case 3:17-cv-00072-NKM-JCH Document 529-5 Filed 07/23/19 Page 2 of 4 Pageid#: 5943




From: Ken Kim <kkim@idsinc.com>
Sent: Thursday, July 11, 2019 1:21 PM
To: Michael Bloch <mbloch@kaplanhecker.com>
Cc: Alex Conlon <aconlon@kaplanhecker.com>; Martha E. Fitzgerald <mfitzgerald@kaplanhecker.com>; iDS_SINKS‐
02678 <ids_sinks‐02678@idsinc.com>
Subject: RE: Sines v. Kessler

Hi Mike:

Both Matthew Heimbach and Dillon Hopper have executed the third‐party vendor contract but Elliot Kline has not yet
executed the contract.

Regards,
Ken

Kenneth Kim
Project Manager
Mobile: 267.847.4876




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https://www.chambersandpartners.com/12788/2817/editorial/58/1#22770855_editorial


From: Ken Kim
Sent: Wednesday, July 10, 2019 9:27 PM
To: Michael Bloch <mbloch@kaplanhecker.com>
Cc: Alex Conlon <aconlon@kaplanhecker.com>; Martha E. Fitzgerald <mfitzgerald@kaplanhecker.com>; iDS_SINKS‐
02678 <ids_sinks‐02678@idsinc.com>
Subject: RE: Sines v. Kessler

Hi Mike:

Actually, Matthew Heimbach emailed us earlier this week about moving forward with his collections and we responded
that we would have to receive an exhibit listing the devices/accounts that we need to collect from Kaplan in order for us
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to proceed. Accordingly, we will proceed with the collections for Matthew Heimbach and Dillon Hopper as provided in
the attached exhibits and reach out directly to Matthew Heimbach and Dillon Hopper as needed to complete the
collections.

I will get back to you tomorrow to let you know if Elliot Kline or Dillon Hopper executed the third‐party vendor contract.

Also, per my email sent last week, is there someone else from Kaplan we should add as a contact for invoicing purposes
in place of Christopher Greene who is no longer with Kaplan?

Regards,
Ken

Kenneth Kim
Project Manager
Mobile: 267.847.4876




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From: Michael Bloch <mbloch@kaplanhecker.com>
Sent: Wednesday, July 10, 2019 9:11 PM
To: Ken Kim <kkim@idsinc.com>
Cc: Alex Conlon <aconlon@kaplanhecker.com>; Martha E. Fitzgerald <mfitzgerald@kaplanhecker.com>
Subject: Sines v. Kessler

[EXTERNAL SENDER]
Ken,

I am writing for a couple reasons. First, I wanted to make sure you received these certifications from Matthew Heimbach
and Dillon Hopper.

Second, I wanted to see if Elliot Kline or Dillon Hopper executed the third‐party vendor contract.

Please let me know. Thanks.

Michael Bloch | Kaplan Hecker & Fink LLP
Counsel
350 Fifth Avenue | Suite 7110
New York, New York 10118
(W) 929.367.4573 | (M) 646.398.0345
mbloch@kaplanhecker.com



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